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                89:;ÿ:;ÿ=>?ÿ?9@ÿ>AB:C:DEÿC>FG?ÿG@C>GHIÿJAB:C:DEÿG@C>GH;ÿ>AÿC>FG?ÿKG>C@@H:=L;ÿMDNÿ>=ENÿO@ÿ>O?D:=@HÿH:G@C?ENÿAG>M
                ?9@ÿC>FG?ÿMD:=?D:=:=LÿDÿKDG?:CFEDGÿG@C>GHI
   8GD=;LFDGHÿP=;FGD=C@ÿQ>MKD=Nÿ>AÿRM@G:CDSÿP=CIÿTIÿUFVÿW>EH:=L;ÿUUQSÿXMMD=F@EÿYDM>;
    Z[\]ÿ_`ab]c                                 ddZedfggddfZhfeeeijk
    Zl`cm                                       Zn[oÿZpcq`pmÿZl`cm
    hor]                                        ZhÿfÿZpspnÿhlcm
    tpn]u                                       ddvgwvgegg
    xm[m`\                                      ddvgwvgeggÿyÿ{]|up|}ÿÿ~[qmps]ÿ
   DG?:@;ÿ?>ÿ?9@ÿQD;@
   ]]|u[|m `ÿlnup|}\ÿZ
      uuc]\\
      ÿ`qÿl[u
      x`pm]ÿdkee
        `|mp|}ml|ÿ[nn]oyÿ{ÿdkee
   ]]|u[|m [al\yÿaa[|`]n
      uuc]\\
      wgÿ_ÿ[c\[nnÿxmc]]m
      {pn[u]nrp[yÿ{ÿge
   {n[p|mp hc[|\}`[cuÿ|\`c[|q]ÿZlar[|oÿlÿa]cpq[yÿ|q
      uuc]\\
      geeÿxpÿtlc\ÿl[u
      x`pm]ÿdee
      [n]p}yÿ_Zÿgjek
      mmlc|]o
      p|u[ÿÿZn[c]
      gjwggyÿ]m[p|]u
      ikdÿxml|]ÿc[p|ÿ[o
      l`p\spnn]yÿÿegge
      egfdfei~
   Q9G>=>E>L:CDEÿQD;@ÿFMMDGN
    ddvgwvgegg
    ddvgivgegg
                  Zlarn[p|m
                  tpn]uÿo                      hc[|\}`[cuÿ|\`c[|q]ÿZlar[|oÿlÿa]cpq[yÿ|q
                  tpn]ÿxm[ar                    ddvgwvgegg
    ddvgivgegg
                  x`aal|\ÿfÿ`ÿlnup|}
                  {[cmo                         hc[|\}`[cuÿ|\`c[|q]ÿZlar[|oÿlÿa]cpq[yÿ|q
                  tpn]ÿxm[ar                    ddvgwvgegg
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    889:;9:<::
                  @ABBCDEÿGÿHIBCE
                  JIKLMN                        OKIDEPAIKQÿRDEAKIDSTÿUCBVIDMÿCWÿXBTKYSIZÿRDS[
                  \Y]Tÿ@LIBVN                   889:?9:<::
    8:98=9:<::
                  WCKÿ^TWTDQIDLZÿ_BBIDAT]ÿHIBCE
                  JIKLMÿ@TK`TQN              HIBCEZÿ_BBIDAT]
                  ^ILTÿ@TK`TQN               8:9<a9:<::
    8:98=9:<::
                  WCKÿbAcÿdC]QYDPEZÿbbU
                  JIKLMÿ@TK`TQN                 bAcÿdC]QYDPEÿbbU
                  ^ILTÿ@TK`TQN                  8:9<;9:<::
    8:98=9:<::
                  XeQI`YLÿCWÿ@TK`YSTÿGÿbAcÿdC]QYDPEÿbbU
                  \Y]TQÿfMN                      OKIDEPAIKQÿRDEAKIDSTÿUCBVIDMÿCWÿXBTKYSIZÿRDS[
                  \Y]Tÿ@LIBVN                    8:98=9:<::
    8:98=9:<::
                  XeQI`YLÿCWÿ@TK`YSTÿGÿ_BBIDAT]ÿHIBCE
                  \Y]TQÿfMN                    OKIDEPAIKQÿRDEAKIDSTÿUCBVIDMÿCWÿXBTKYSIZÿRDS[
                  \Y]Tÿ@LIBVN                  8:98=9:<::
    8:9:89:<::
                  XVVTIKIDST
                  \CKÿJIKLMN                    bAcÿdC]QYDPEÿbbU
                  \CKÿJIKLMN                    HIBCEZÿ_BBIDAT]
                  \Y]Tÿ@LIBVN                   8:9:89:<::
    8:9:89:<::
                  gCLYCDÿWCKÿ_D]IKPTBTDLÿCWÿOYBTÿLCÿXDEhTK
                  \Y]TQÿfMN                    bAcÿdC]QYDPEÿbbU
                  \Y]TQÿfMN                    HIBCEZÿ_BBIDAT]
                  \Y]Tÿ@LIBVN                  8:9:89:<::
    8:9:89:<::
                  iAQYSYI]ÿjeSTKN               OKCALZÿiCETVkÿ^
                  jKQTKÿ@YPDTQN                 8:9:89:<::
    8:9::9:<::
                  jKQTKÿlKIDLYDPÿgCLYCDÿWCKÿ_D]IKPTBTDLÿCWÿOYBTÿGGGGÿ8:9:89:<::ÿNÿbAcÿdC]QYDPEÿbbUm_BBIDAT]ÿHIBCE
    8:9::9:<::
                  jKQTKÿlKIDLYDPÿgCLYCDÿWCKÿ_D]IKPTBTDLÿCWÿOYBTÿGGGGÿ8:9:89:<::ÿNÿbYDQIÿdÿU]IKT
    <89<>9:<:?
                  nCLYSTÿCWÿ^TWTDQIDLEoÿHTBC`I]ÿCWÿUIAETÿLCÿ\TQTKI]ÿUCAKL
                  \Y]TQÿfMN                    bAcÿdC]QYDPEÿbbU
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   89:;:<9;=ÿ?:@ABC;D9A:
   EFGHIHJGIKÿMIKIHJNOÿPNQNJRNSÿIPNÿJTPPNHRÿPNUPNONHRIRGVHOÿVWÿRPIHOIJRGVHOÿUPVJNOONSÿXYÿRZNÿ[KNP\]Oÿ^_JNÿ̀aKNIONÿHVRNÿRZIRÿIHY
     XIKIHJNÿSTNÿSVNOÿHVRÿPNQNJRÿGHRNPNORÿRZIRÿZIOÿIJJPTNSÿbÿGWÿIUUKGJIXKNÿbÿOGHJNÿRZNÿKIORÿUIYcNHRÿ̀FVPÿdTNORGVHOeJVHJNPHOÿPNfIPSGHf
     XIKIHJNOÿOZVgHhÿUKNIONÿJVHRIJRÿRZNÿ[KNP\]Oÿ^_JN`

   aKIGHRGi
   MIKIHJNÿjTNÿkIOÿVWÿlmelneolopq
   [ZIPfNÿrTccIPY
    [VTPRÿ[VOROÿIHSÿFGKGHfÿFNNO                                              mstl̀l              ll̀l                mstl̀l
   uPIHOIJRGVHÿrTccIPY
    mmeoveoloo           uPIHOIJRGVHÿwOONOOcNHR                              mstl̀l
    mmeoveoloo           xKNJRPVHGJÿaIYcNHR                                  kmstl̀lq

                yz9{ÿ9{ÿ:ADÿDz|ÿA@}9<9;=ÿ<A~BDÿB|<ABÿ@}9<9;=ÿB|<AB{ÿA@ÿ<A~BDÿBA<||9:{ÿC;ÿA:=ÿ|ÿA D;9:|ÿ9B|<D=ÿ@BAC
                Dz|ÿ<A~BDÿC;9:D;9:9:ÿ;ÿ;BD9<~=;BÿB|<AB




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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 137 of 206 PageID #: 141
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 138 of 206 PageID #: 142
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 139 of 206 PageID #: 143
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 140 of 206 PageID #: 144
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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 183 of 206 PageID #: 187
                             11C01-2211-CT-000879
                                                Clay Circuit Court
                                                                                                    Filed: 11/23/2022 5:10 PM
                                                                                                                         Clerk
                                                                                                         Clay County, Indiana
                                            SUMMONS
                               IN THE CLAY COUNTY CIRCUIT COURT
                                        STATE OF INDIANA

TRANSGUARD INSURANCE COMPANY                                           CAUSE NO.:
OF AMERICA, INC., as subrogee of
C.W. Baker Logistics, Inc., Carey Wayne Baker,
Ian Windom and CRST Specialized Transportation, Inc.

               Plaintiff,

       -vs-

LUX HOLDINGS, LLC

and

EMMANUEL RAMOS

               Defendants.

TO THE DEFENDANT:              AGENT: INDIANA SECRETARY OF STATE
                               LUX HOLDINGS, LLC
                               55 Buck Road, Suite 300
                               Huntington Valley, PA 19006 (last known address)

        You are hereby notified that you have been sued by the person(s) named as plaintiff and in the Court
indicated above.

         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
states the relief sought or the demand made against you by the plaintiff.

         An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was received by mail), or a judgment by default may be rendered against you for
the relief demanded by plaintiff.

       If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
must assert it in your written answer.
            11/28/2022
DATE: __________________, 2022                          _______________________________________ (Seal)
                                                        Clerk, Circuit Court of Clay County

 The following manner of service is hereby designated: INDIANA SECRETARY OF STATE per Trial
Rule 4.10

ATTORNEY FOR PLAINTIFF:                Linda H. Clare, Esq. | KOLB CLARE & ARNOLD, PSC
                                       9400 Williamsburg Plaza, Ste. 200, Louisville, KY 40222
                                       (502) 614-4086
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 184 of 206 PageID #: 188
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 185 of 206 PageID
                                                                          Filed: #: 189 3:02 PM
                                                                                 12/15/2022
                                                                                                                                    Clay County Circuit Court
                                                                                                                                         Clay County, Indiana

     IN THE MATTER OF:

     PLAINTlFF TRANSGUARD INSURANCE COMPANY OF AMERICA, INC.
                                                                                 COURT: CIRCUIT
                                          vs:                                    COUNTY:CLAY
                                                                                 CAUSE #: 110012211CT000879
     DEFENDANT: LUX HOLDINGS, LLC
                55 BUCK ROAD, SUITE 300
                HUNTINGTON VALLEY. PA 19006



     STATE for INDIANA                                  )
                             '_                         )        es:
     COUNTY OF MARION                                   )
                                               AFFIDAVIT OF SERVICE av seggrzrgv OF STATE
                                                                                                                           '_




     l. Nathaniel Odle, being ﬁrst duly sworn now state:

          1.                      THAT am the service of process clerk of the
                                           I
                                                                              secreta       ry of state's ofﬁce and am authorized to
                                  affirm the facts set herein:

          2.           THAT the secretary of state received a summons and a       of the
                    '7 above named court to be served on the stated defendantcopycertifiedcompla
                                                                                           or
                                                                                                 int from the clerk of the
                         '
                                                                                                by               registered mail with a retum
                                  receipt req'Uested.
          3.
                [x THAT
                "r
                   defend
                         the summons and a copy-of the compla were mailed
                                                             int          by certiﬁed mail to the stated
                                       ant on 1212(2022 and the return receipt and/or
                                                                                      envelope containing the summons and a
                                      of
                                  copy the complaint served is attached hereto
                -
                                                                                   95;
          3b.                     THAT the summons and a copy of the compla
      .

                                                                                 int were not mailed because no address was
                     1            available for mailing.
 I   AFFlRM UNDER THE PENALTIES FOR PERJURY that the
                                                                                     foregoing matters are true.


                                                                                                        Holli Sullivan
                                                                                                        Secretary of State




                                                                                                        Nathaniel Odie
                                                                                                        Service of Process Clerk
     Certified No. 60530                                           Date Mailed: 1212/2022
     Date Returned/ReceiVed'lQ*(                            by" ResultofMaiiing:       -'
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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 186 of 206 PageID #: 190
                                                 Clay Circuit Court
                                                                                                                     Flled: 1112312022 5:10 Pll
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                                                                                                                               Clay COU nty, Indian:
                                             S UMMONS
                                IN THE CLAY COUNTY CIRCUIT COURT
                                             STATE OF INDIANA

TRANSGUARD INSURANCE COMPANY                                              CAUSE NO.:
OF AMERICA, INC, as subrogee of
CW. Baker Logistics, Inc., Carey Wayne Baker,
Ian Windoin and CRST Specialized Transportation, Inc.

                Plaintift',

         VS

LUX HOLDINGS, LLC
and

EMMANUEL RAMOS
           If




                Defendants.

TO THE DEFENDANT:               AGENT: INDIANA SECRETARY OF STATE
                                LUX HOLDINGS, LLC
                                55 Buck Road, Suite 300               _




                                Huntington Valley, PA 19006 (last known address)

        You are hereby notiﬁed that you have been sued by the person(s) named as plaintiff and in the Court
indicated above.

         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
states the relief sought or the demand made against you by the plaintiff

        An answer or other appropriate response in writing to the complaint must be ﬁled either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was received by mail), or a judgment by default may be rendered against you for
the relief demanded by plaintiff.

        If you have a claim for relief against the plaintiff arising from the same transaction 01'                                      'you
mtist assert it in your written answer.                                                        ,       {or
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                                                         Clerk; CirCIlit Couﬂt Of Clay County      1'
                                                                                                     Jeannie
 The folldwing mannei' of service is hereby designated: INDIANA SECRETARY                        S'l'A'l'E Der Trial
Rule 4.10

ATTORNEY FOR PLAINTIFF:                 Linda H. Clare, Esq. KOLB CLARE & ARNOLD, PSC
                                                                |




                                        9400 Williamsburg Plaza, Ste. 200, Louisville, KY 40222
                                        (502) 6144086
Case UNI
     2:23-cv-00016-JMS-MJD
         TED S TATES
                           Document 1-1 Filed 01/06/23 Page 187 of 206 PageID #: 191
W; POSTAL SERVICE
    1.,




December-8, 2022

Dear MAIL MAIL:

The following is in response to your request for proof of delivery on your item with the tracking number:
9214 8901? 0661 5400 0181 3270 77.



Status:                                                 Delivered, Left with Individual
Status Date I Time:                                     December 8, 2022. 10:51 am
Location:                                               HUNTINGDON VALLEY, PA 19006
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified MailTM               .




                                                        Return Receipt Electronic
 Recipient Name:                                        LUX HOLDINGS LLC




                   Signature of Recipient:
                                                               ape
                                                               92/"
                     Address of Recipient:

 Note: Scanned image may reﬂect a different destination address due to Intended Recipient's delivery Instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeTM or a Postal representative at 1-800-222~181 1.

Sincerely.
United States Postal Service®
475 L'Enfant Plaza SW
WashingtOn, DC. 202600004




 The customer reference information shown below is not validated cr endorsed-by the
 United States Postal Service. It is solely for CUStomer use.


                                             Reference ID: 92148901066154000181327077
                                             11CO12211CT000879 60530
                                             LUX HOLDINGS, LLC
                                             55 BUCK ROAD, SUITE 300
                                             HUNTINGTON VALLEY, PA 190060000
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 188 of 206 PageID
                                                                          Filed: #: 192 3:02 PM
                                                                                 12/15/2022
                                                                                                                    Clay County Circuit Court
                                                                                                                         Clay County, Indiana


 IN THE MATTER OF:

 PLAINTIFF TRANSGUARD INSURANCE COMPANY OF AMERICA, INC.
                                                                  COURT: CIRCUIT
                    VS:                                           COUNTY:CLAY
                                                                  CAUSE #: 11001221 CT000879
                                                                                        1



 DEFENDANT: EMMANUEL RAMOS
            3542 N. MARSHALL STREET
            PHILADELPHIA, PA 19140



     STATE OF INDIANA              )
                                   )          ss:
     COUNTY OF MARION              )

                           AFFIDAVIT OF S_ERVICE BY SECRETARY OF STATE
 I, Nathanial Odle, being first duly sworn now state:

      1.
            I   THAT am the service of process clerk of the secretary of state's office and am authorized to
                       I

                afﬁrm the facts set herein:

      2.
            l" "I THAT the secretary of state received a summons and a copy of the complaint from the clerk of the
                above named court to be sewed on the stated defendant by certiﬁed or registered mail with a return
                receipt requested.
      3.
            E   THAT the summons and a copy of the complaint were mailed by certiﬁed mail to the stated
                defendant on 12I212022 and the return receipt and/or envelope containing the summons and a
                copy of the complaint served is attached hereto gig;
      3b.
            C] THAT   the summons and a copy of the complaint were not mailed because no address was
               available for mailing.
 I   AFFIRM UNDER THE PENALTIES FOR PERJURY that the foregoing matters are true.


                                                                                  Holli Sullivan
                                                                                  Secretary of State



                                                                                  Nathanial Odle
                                                                                  Service of Process Clerk

     Certified No. 60531                            Date Mailed: 12/2/2022

     Date Returned/Received [141-37. 1,             Result of Mailing:         an. ; ,...

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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 189 of 206 PageID #: 193
                                                Clay Circuit Court
                                                                                                    Filed: 1112312022 5:10 P|\
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                                                                                                         Clay County, Indiana
                                            SUMMONS
                               1N THE CLAY COUNTY CIRCUIT COURT
                                            STATE 0F INDIANA

TRANSGUARD INSURANCE COMPANY                                           CAUSE N0.:        11001'2211'CT'000879
OF AWRICA, INC., as subrogee of
C.W. Baker Logistics, Inc., Carey Wayne Baker,
Ian Windom and CRST Specialized Transportation, Inc.

               Plaintiff;

        -vs_

LUX HOLDINGS, LLC
and

EMMANUEL RAMOS

               Defendants.

TO TI-IE DEFENDANT:            AGENT: INDIANA SECRETARY OF STATE
                               EMMANUEL RAMOS
                               3542 N. Marshall Street
                               Philadelphia, PA 19140 (last known address)

        You are hereby notiﬁed that you have been sued by the person(s) named as plaintiff and in the Court
indieatedabOVe.

         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
states the relief sought or the demand made against you by the plaintift'.

        An answer or other appropriate response in writing to the complaint must be ﬁled either by you or
your attorney Within twenty (20) days, commencing the day aﬁer you receive this Summons, (or twentythree
(23) days if this Summons was received by mail), or a judgment by default may be rendered against you for
the relief demanded by plaintiff.

       If you have a claim for relief against the plaintiff arising from the same transaction or
must assert it in your written answer                                                            gc'gtﬁ'iﬁgé'avou

DATE:
         11/28/2022
                               .2022                                 aml g   KW
                                                        Clerk, Circuit Court o'f'Clay County
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                                                                                                       Ii"
 The following manner of service is hereby designated: INDIANA SECRETARY OF STATE per Trial
Rule 4.10

ATTORNEY FOR PLAINTIFF:                Linda H. Clare, Esq. KOLB CLARE & ARNOLD, PSC
                                       9400 Williamsburg Plaza, Ste. 200, Louisville, KY 40222
                                                               |




                                       (502) 614-4086
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 190 of 206 PageID #: 194
   ...   UNITEDSTATES
          POSTAL SERVICE

December 10, 2022

Dear MAIL MAIL:


The following is in response to your request for proof of delivery on your item with the tracking number:
9214 8901 0661 5400 0181 3273 12.


[tem Detaiis,

Status:                                                 Delivered, Left with Individual
Status Date I Time:                                     December 9. 2022. 11:47 am
Location:                                               PHILADELPHIA, PA 19140
Postal Product:                                         First-Class Mail"
Extra Services:                                         Certified MailTM
                                                        Return Receipt Electronic
                                                        EMMANUEL RAMOS
:Recipient Name:
Recipient Signature


                    Signature of Recipient:
                                                          ¢q=2§\
                                                           @537
                     Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeTM or a Postal representative at 1-800-2221811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




The customer reference information shown below is not validated or endorsed by the
United States Postal Service. It is solely for customer use.


                                            Reference ID: 92148901066154000181327312
                                            11C012211CT000879 60531
                                            EMMANUEL RAMOS
                                            3542 N. MARSHALL STREET
                                            PHILADELPHIA, PA 191400000
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 191 of 206 PageID
                                                                          Filed: #: 195 3:02 PM
                                                                                 12/15/2022
                                                                                                                                    Clay County Circuit Court
                                                                                                                                         Clay County, Indiana

     IN THE MATTER OF:

     PLAINTlFF TRANSGUARD INSURANCE COMPANY OF AMERICA, INC.
                                                                                 COURT: CIRCUIT
                                          vs:                                    COUNTY:CLAY
                                                                                 CAUSE #: 110012211CT000879
     DEFENDANT: LUX HOLDINGS, LLC
                55 BUCK ROAD, SUITE 300
                HUNTINGTON VALLEY. PA 19006



     STATE for INDIANA                                  )
                             '_                         )        es:
     COUNTY OF MARION                                   )
                                               AFFIDAVIT OF SERVICE av seggrzrgv OF STATE
                                                                                                                           '_




     l. Nathaniel Odle, being ﬁrst duly sworn now state:

          1.                      THAT am the service of process clerk of the
                                           I
                                                                              secreta       ry of state's ofﬁce and am authorized to
                                  affirm the facts set herein:

          2.           THAT the secretary of state received a summons and a       of the
                    '7 above named court to be served on the stated defendantcopycertifiedcompla
                                                                                           or
                                                                                                 int from the clerk of the
                         '
                                                                                                by               registered mail with a retum
                                  receipt req'Uested.
          3.
                [x THAT
                "r
                   defend
                         the summons and a copy-of the compla were mailed
                                                             int          by certiﬁed mail to the stated
                                       ant on 1212(2022 and the return receipt and/or
                                                                                      envelope containing the summons and a
                                      of
                                  copy the complaint served is attached hereto
                -
                                                                                   95;
          3b.                     THAT the summons and a copy of the compla
      .

                                                                                 int were not mailed because no address was
                     1            available for mailing.
 I   AFFlRM UNDER THE PENALTIES FOR PERJURY that the
                                                                                     foregoing matters are true.


                                                                                                        Holli Sullivan
                                                                                                        Secretary of State




                                                                                                        Nathaniel Odie
                                                                                                        Service of Process Clerk
     Certified No. 60530                                           Date Mailed: 1212/2022
     Date Returned/ReceiVed'lQ*(                            by" ResultofMaiiing:       -'
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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 192 of 206 PageID #: 196
                                                 Clay Circuit Court
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                                             S UMMONS
                                IN THE CLAY COUNTY CIRCUIT COURT
                                             STATE OF INDIANA

TRANSGUARD INSURANCE COMPANY                                              CAUSE NO.:
OF AMERICA, INC, as subrogee of
CW. Baker Logistics, Inc., Carey Wayne Baker,
Ian Windoin and CRST Specialized Transportation, Inc.

                Plaintift',

         VS

LUX HOLDINGS, LLC
and

EMMANUEL RAMOS
           If




                Defendants.

TO THE DEFENDANT:               AGENT: INDIANA SECRETARY OF STATE
                                LUX HOLDINGS, LLC
                                55 Buck Road, Suite 300               _




                                Huntington Valley, PA 19006 (last known address)

        You are hereby notiﬁed that you have been sued by the person(s) named as plaintiff and in the Court
indicated above.

         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
states the relief sought or the demand made against you by the plaintiff

        An answer or other appropriate response in writing to the complaint must be ﬁled either by you or
your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
(23) days if this Summons was received by mail), or a judgment by default may be rendered against you for
the relief demanded by plaintiff.

        If you have a claim for relief against the plaintiff arising from the same transaction 01'                                      'you
mtist assert it in your written answer.                                                        ,       {or
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                                                         Clerk; CirCIlit Couﬂt Of Clay County      1'
                                                                                                     Jeannie
 The folldwing mannei' of service is hereby designated: INDIANA SECRETARY                        S'l'A'l'E Der Trial
Rule 4.10

ATTORNEY FOR PLAINTIFF:                 Linda H. Clare, Esq. KOLB CLARE & ARNOLD, PSC
                                                                |




                                        9400 Williamsburg Plaza, Ste. 200, Louisville, KY 40222
                                        (502) 6144086
Case UNI
     2:23-cv-00016-JMS-MJD
         TED S TATES
                           Document 1-1 Filed 01/06/23 Page 193 of 206 PageID #: 197
W; POSTAL SERVICE
    1.,




December-8, 2022

Dear MAIL MAIL:

The following is in response to your request for proof of delivery on your item with the tracking number:
9214 8901? 0661 5400 0181 3270 77.



Status:                                                 Delivered, Left with Individual
Status Date I Time:                                     December 8, 2022. 10:51 am
Location:                                               HUNTINGDON VALLEY, PA 19006
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified MailTM               .




                                                        Return Receipt Electronic
 Recipient Name:                                        LUX HOLDINGS LLC




                   Signature of Recipient:
                                                               ape
                                                               92/"
                     Address of Recipient:

 Note: Scanned image may reﬂect a different destination address due to Intended Recipient's delivery Instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeTM or a Postal representative at 1-800-222~181 1.

Sincerely.
United States Postal Service®
475 L'Enfant Plaza SW
WashingtOn, DC. 202600004




 The customer reference information shown below is not validated cr endorsed-by the
 United States Postal Service. It is solely for CUStomer use.


                                             Reference ID: 92148901066154000181327077
                                             11CO12211CT000879 60530
                                             LUX HOLDINGS, LLC
                                             55 BUCK ROAD, SUITE 300
                                             HUNTINGTON VALLEY, PA 190060000
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 194 of 206 PageID
                                                                          Filed: #: 198 3:02 PM
                                                                                 12/15/2022
                                                                                                                    Clay County Circuit Court
                                                                                                                         Clay County, Indiana


 IN THE MATTER OF:

 PLAINTIFF TRANSGUARD INSURANCE COMPANY OF AMERICA, INC.
                                                                  COURT: CIRCUIT
                    VS:                                           COUNTY:CLAY
                                                                  CAUSE #: 11001221 CT000879
                                                                                        1



 DEFENDANT: EMMANUEL RAMOS
            3542 N. MARSHALL STREET
            PHILADELPHIA, PA 19140



     STATE OF INDIANA              )
                                   )          ss:
     COUNTY OF MARION              )

                           AFFIDAVIT OF S_ERVICE BY SECRETARY OF STATE
 I, Nathanial Odle, being first duly sworn now state:

      1.
            I   THAT am the service of process clerk of the secretary of state's office and am authorized to
                       I

                afﬁrm the facts set herein:

      2.
            l" "I THAT the secretary of state received a summons and a copy of the complaint from the clerk of the
                above named court to be sewed on the stated defendant by certiﬁed or registered mail with a return
                receipt requested.
      3.
            E   THAT the summons and a copy of the complaint were mailed by certiﬁed mail to the stated
                defendant on 12I212022 and the return receipt and/or envelope containing the summons and a
                copy of the complaint served is attached hereto gig;
      3b.
            C] THAT   the summons and a copy of the complaint were not mailed because no address was
               available for mailing.
 I   AFFIRM UNDER THE PENALTIES FOR PERJURY that the foregoing matters are true.


                                                                                  Holli Sullivan
                                                                                  Secretary of State



                                                                                  Nathanial Odle
                                                                                  Service of Process Clerk

     Certified No. 60531                            Date Mailed: 12/2/2022

     Date Returned/Received [141-37. 1,             Result of Mailing:         an. ; ,...

                                                                               .'art:%§\ii¥"i""3'z   '5'"
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Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 195 of 206 PageID #: 199
                                                Clay Circuit Court
                                                                                                    Filed: 1112312022 5:10 P|\
                                                                                                                         Clerl
                                                                                                         Clay County, Indiana
                                            SUMMONS
                               1N THE CLAY COUNTY CIRCUIT COURT
                                            STATE 0F INDIANA

TRANSGUARD INSURANCE COMPANY                                           CAUSE N0.:        11001'2211'CT'000879
OF AWRICA, INC., as subrogee of
C.W. Baker Logistics, Inc., Carey Wayne Baker,
Ian Windom and CRST Specialized Transportation, Inc.

               Plaintiff;

        -vs_

LUX HOLDINGS, LLC
and

EMMANUEL RAMOS

               Defendants.

TO TI-IE DEFENDANT:            AGENT: INDIANA SECRETARY OF STATE
                               EMMANUEL RAMOS
                               3542 N. Marshall Street
                               Philadelphia, PA 19140 (last known address)

        You are hereby notiﬁed that you have been sued by the person(s) named as plaintiff and in the Court
indieatedabOVe.

         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
states the relief sought or the demand made against you by the plaintift'.

        An answer or other appropriate response in writing to the complaint must be ﬁled either by you or
your attorney Within twenty (20) days, commencing the day aﬁer you receive this Summons, (or twentythree
(23) days if this Summons was received by mail), or a judgment by default may be rendered against you for
the relief demanded by plaintiff.

       If you have a claim for relief against the plaintiff arising from the same transaction or
must assert it in your written answer                                                            gc'gtﬁ'iﬁgé'avou

DATE:
         11/28/2022
                               .2022                                 aml g   KW
                                                        Clerk, Circuit Court o'f'Clay County
                                                                                                       "an!
                                                                                                       whé '33
                                                                                                       Ii"
 The following manner of service is hereby designated: INDIANA SECRETARY OF STATE per Trial
Rule 4.10

ATTORNEY FOR PLAINTIFF:                Linda H. Clare, Esq. KOLB CLARE & ARNOLD, PSC
                                       9400 Williamsburg Plaza, Ste. 200, Louisville, KY 40222
                                                               |




                                       (502) 614-4086
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 196 of 206 PageID #: 200
   ...   UNITEDSTATES
          POSTAL SERVICE

December 10, 2022

Dear MAIL MAIL:


The following is in response to your request for proof of delivery on your item with the tracking number:
9214 8901 0661 5400 0181 3273 12.


[tem Detaiis,

Status:                                                 Delivered, Left with Individual
Status Date I Time:                                     December 9. 2022. 11:47 am
Location:                                               PHILADELPHIA, PA 19140
Postal Product:                                         First-Class Mail"
Extra Services:                                         Certified MailTM
                                                        Return Receipt Electronic
                                                        EMMANUEL RAMOS
:Recipient Name:
Recipient Signature


                    Signature of Recipient:
                                                          ¢q=2§\
                                                           @537
                     Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post OfficeTM or a Postal representative at 1-800-2221811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




The customer reference information shown below is not validated or endorsed by the
United States Postal Service. It is solely for customer use.


                                            Reference ID: 92148901066154000181327312
                                            11C012211CT000879 60531
                                            EMMANUEL RAMOS
                                            3542 N. MARSHALL STREET
                                            PHILADELPHIA, PA 191400000
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 197 of 206 PageID    #: 201 11:46 AM
                                                                         Filed: 12/21/2022
                                                                               Clay County Circuit Court
                                                                                    Clay County, Indiana




   STATE OF INDIANA          )           IN THE CLAY CIRCUIT COURT
                             ) SS:
   COUNTY OF CLAY            )           CAUSE NO. 11C01-2211-CT-000879


   TRANSGUARD INSURANCE                    )
   COMPANY OF AMERICA, INC., as            )
   Subrogee of C.W. Baker Logistics, Inc., )
   Carey Wayne Baker, Ian Windom, and )
   CRST Specialized Transportation, Inc., )
                                           )
                     Plaintiff,            )
                                           )
                     v.                    )
                                           )
   LUX HOLDINGS, LLC and                   )
   EMMANUEL RAMOS,                         )
                                           )
                     Defendants.           )


          E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

       1. The party on whose behalf this form is being filed is:
          Initiating _____    Responding X        Intervening _____; and the
          undersigned attorney and all attorneys listed on this form now appear in
          this case for the following parties:
          Name of party: Lux Holdings, LLC
          Name of party: Emmanuel Ramos


       2. Attorney information for service as required by Trial Rule 5(B)(2)

          Name: Francis A. Veltri, TRAVELERS STAFF COUNSEL INDIANA
          Atty Number: 27495-64
          Address: P. O. Box 64093, St. Paul, MN 55164-0093
          Phone:   (219) 736-2185
          FAX:     (844) 833-0499
          Email Address: fveltri@travelers.com

                                               1
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         IMPORTANT: Each attorney specified on this appearance:
         (a)  certifies that the contact information listed for him/her on the
              Indiana Supreme Court Roll of Attorneys is current and accurate
              as of the date of this Appearance;
         (b)  acknowledges that all orders, opinions, and notices from the
              court in this matter that are served under Trial Rule 86(B)
              will be sent to the attorney at the email address(es) specified
              by the attorney on the Roll of Attorneys regardless of the
              contact information listed above for the attorney; and
         (c)  understands that he/she is solely responsible for keeping his/her
              Roll of Attorneys contact information current and accurate, see
              Ind. Admis. Disc. R. 2(A).


      3. This is a civil case type as defined in administrative Rule 8(B)(3).


      4. This case involves child support issues. Yes ____ No X


      5. This case involves a protection from abuse order, a workplace violence
         restraining order, or a no – contact order. Yes ____ No X
         The party shall use the following address for purposes of legal service:
         ________     Attorney’s address
         ________     The Attorney General Confidentiality program address
                      (contact the Attorney General at 1-800-321-1907 or e-mail
                      address is confidential@atg.in.gov).
         ________     Another address (provide)
      This case involves a petition for involuntary commitment. Yes ____ No X


      6. If Yes above, provide the following regarding the individual subject to the
         petition for involuntary commitment:
           a. Name of the individual subject to the petition for involuntary
              commitment if it is not already provided in #1 above:
              ____________________________________________
           b. State of Residence of person subject to petition: _______________
           c. At least one of the following pieces of identifying information:


                                            2
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             (i) Date of Birth ___________
             (ii) Driver’s License Number ______________________
                 State where issued _____________ Expiration date __________
             (iii) State ID number ____________________________
                 State where issued _____________ Expiration date ___________
             (iv) FBI number __________________________
             (v) Indiana Department of Corrections Number
                 _______________________
          (vi) Social Security Number is available and is being provided in an
               attached confidential document Yes ____ No ___


      7. There are related cases: Yes ____ No X


      8. Additional information required by local rule:
         _____________________________________________________________________


      9. There are other party members: Yes ____ No ____


     10. This form has been served on all other parties and Certificate of Service
         is attached: Yes X No ___


                                                 Respectfully submitted,
                                                 TRAVELERS STAFF COUNSEL INDIANA

                                        By:      /s/ Francis A. Veltri
                                                 Francis A. Veltri, 27495-64




                                             3
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 200 of 206 PageID #: 204




                             CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was filed electronically using
   the Indiana E-Filing System (IEFS) and served upon the following persons via IEFS
   on December 21, 2023:

         Linda H. Clare
         KOLB CLARE & ARNOLD, PSC



                                        By:   /s/ Francis A. Veltri
                                              Francis A. Veltri, 27495-64

   TRAVELERS STAFF COUNSEL INDIANA
   P. O. Box 64093
   St. Paul, MN 55164-0093
   T: (219) 736-2185
   F: (844) 833-0499
   fveltri@travelers.com

   FAV:gb




                                          4
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 201 of 206 PageID    #: 205 11:46 AM
                                                                         Filed: 12/21/2022
                                                                                Clay County Circuit Court
                                                                                     Clay County, Indiana




   STATE OF INDIANA         )            IN THE CLAY CIRCUIT COURT
                            ) SS:
   COUNTY OF CLAY           )            CAUSE NO. 11C01-2211-CT-000879


   TRANSGUARD INSURANCE                    )
   COMPANY OF AMERICA, INC., as            )
   Subrogee of C.W. Baker Logistics, Inc., )
   Carey Wayne Baker, Ian Windom, and )
   CRST Specialized Transportation, Inc., )
                                           )
                     Plaintiff,            )
                                           )
                     v.                    )
                                           )
   LUX HOLDINGS, LLC and                   )
   EMMANUEL RAMOS,                         )
                                           )
                     Defendants.           )


            MOTION FOR ENLARGEMENT OF TIME TO ANSWER

          Defendants, by counsel, respectfully move the Court for an enlargement of

   time pursuant to Ind. Trial Rule 6(B)(1), and show the Court:

          1.    A response to Plaintiff's Complaint is due on December 31, 2022, and

   said time has not expired.

          2.    No prior enlargements have been requested.

          3.    Said enlargement of time would expire on January 30, 2023.

          4.    Such enlargement of time is necessary to allow undersigned counsel

   sufficient time to investigate the allegations, consult with Defendants, and prepare

   an appropriate responsive pleading.




                                               1
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         WHEREFORE, Defendants respectfully pray for an enlargement of time to

   respond to Plaintiff’s Complaint and further request entry of all other just and

   proper relief.

                                               Respectfully submitted,

                                               TRAVELERS STAFF COUNSEL INDIANA

                                        By:   /s/ Francis A. Veltri
                                              Francis A. Veltri, 27495-64



                             CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was filed electronically using
   the Indiana E-Filing System (IEFS) and served upon the following persons via IEFS
   on December 21, 2023:

         Linda H. Clare
         KOLB CLARE & ARNOLD, PSC



                                        By:   /s/ Francis A. Veltri
                                              Francis A. Veltri, 27495-64

   TRAVELERS STAFF COUNSEL INDIANA
   P. O. Box 64093
   St. Paul, MN 55164-0093
   T: (219) 736-2185
   F: (844) 833-0499
   fveltri@travelers.com

   FAV:gb




                                          2
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 203 of 206 PageID #: 207




   STATE OF INDIANA          )           IN THE CLAY CIRCUIT COURT
                             ) SS:
   COUNTY OF CLAY            )           CAUSE NO. 11C01-2211-CT-000879


   TRANSGUARD INSURANCE                    )
   COMPANY OF AMERICA, INC., as            )
   Subrogee of C.W. Baker Logistics, Inc., )
   Carey Wayne Baker, Ian Windom, and )
   CRST Specialized Transportation, Inc., )
                                           )
                     Plaintiff,            )
                                           )
                     v.                    )
                                           )
   LUX HOLDINGS, LLC and                   )
   EMMANUEL RAMOS,                         )
                                           )
                     Defendants.           )


                    ORDER ENLARGING TIME TO ANSWER

           The Court, having reviewed the Defendants’ Motion for Enlargement of Time

   to Answer, and being duly advised, now GRANTS the same.

           IT IS THEREFORE ORDERED that the time within which Defendants are

   required to answer or respond to the Plaintiff’s Complaint is enlarged to and

   including January 30, 2023.




   Date:
                                               Judge, Clay Circuit Court 1

   DISTRIBUTION:
   Linda H. Clare, KOLB CLARE & ARNOLD, PSC
   Francis A. Veltri, TRAVELERS STAFF COUNSEL INDIANA
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 204 of 206 PageID #: 208




   STATE OF INDIANA          )           IN THE CLAY CIRCUIT COURT
                             ) SS:
   COUNTY OF CLAY            )           CAUSE NO. 11C01-2211-CT-000879


   TRANSGUARD INSURANCE                    )
   COMPANY OF AMERICA, INC., as            )
   Subrogee of C.W. Baker Logistics, Inc., )
   Carey Wayne Baker, Ian Windom, and )
   CRST Specialized Transportation, Inc., )
                                           )
                     Plaintiff,            )
                                           )
                     v.                    )
                                           )
   LUX HOLDINGS, LLC and                   )
   EMMANUEL RAMOS,                         )
                                           )
                     Defendants.           )


                    ORDER ENLARGING TIME TO ANSWER

           The Court, having reviewed the Defendants’ Motion for Enlargement of Time

   to Answer, and being duly advised, now GRANTS the same.

           IT IS THEREFORE ORDERED that the time within which Defendants are

   required to answer or respond to the Plaintiff’s Complaint is enlarged to and

   including January 30, 2023.




   Date:
                                               Judge, Clay Circuit Court 1

   DISTRIBUTION:
   Linda H. Clare, KOLB CLARE & ARNOLD, PSC
   Francis A. Veltri, TRAVELERS STAFF COUNSEL INDIANA
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 205 of 206 PageID #: 209




   STATE OF INDIANA          )            IN THE CLAY CIRCUIT COURT
                             ) SS:
   COUNTY OF CLAY            )            CAUSE NO. 11C01-2211-CT-000879


   TRANSGUARD INSURANCE                    )
   COMPANY OF AMERICA, INC., as            )
   Subrogee of C.W. Baker Logistics, Inc., )
   Carey Wayne Baker, Ian Windom, and )
   CRST Specialized Transportation, Inc., )
                                           )
                     Plaintiff,            )
                                           )
                     v.                    )
                                           )
   LUX HOLDINGS, LLC and                   )
   EMMANUEL RAMOS,                         )
                                           )
                     Defendants.           )


             NOTICE OF DEFENDANTS’ REMOVAL OF CAUSE
                        TO FEDERAL COURT

         Defendants, Lux Holdings, LLC and Emmanuel Ramos, by counsel, hereby

   provide notice of the removal of this cause from the Clay Circuit Court to the United

   States District Court for the Southern District of Indiana, Terre Haute Division,

   pursuant to 28 U.S.C. §§ 1441 and 1446. Pursuant to 28 U.S.C. § 1446(d), the

   Clay Circuit Court is deprived of jurisdiction and shall undertake no further

   proceedings with respect to this cause.

                                                   Respectfully submitted,

                                                   TRAVELERS STAFF COUNSEL INDIANA

                                          By:      /s/ Francis A. Veltri
                                                   Francis A. Veltri, 27495-64

                                               1
Case 2:23-cv-00016-JMS-MJD Document 1-1 Filed 01/06/23 Page 206 of 206 PageID #: 210




                             CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was filed electronically using
   the Indiana E-Filing System (IEFS) and served upon the following persons via IEFS
   on January 6, 2023:

         Linda H. Clare
         KOLB CLARE & ARNOLD, PSC



                                        By:   /s/ Francis A. Veltri
                                              Francis A. Veltri, 27495-64

   TRAVELERS STAFF COUNSEL INDIANA
   P. O. Box 64093
   St. Paul, MN 55164-0093
   T: (219) 736-2185
   F: (844) 833-0499
   fveltri@travelers.com

   FAV:gb




                                          2
